      Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 1 of 14 PageID #:728




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 RICARDO RODRIGUEZ,

 Plaintiff,
                                                  Case No. 18-cv-7951
 v.
                                                  Judge Mary M. Rowland
 THE CITY OF CHICAGO, et al.,

 Defendants.

                      MEMORANDUM OPINION AND ORDER

      For the reasons stated below, Judge Cox’s Order denying the Defendant City of

Chicago (the “City”)’s motion to bifurcate Monell claims without prejudice [51] is

AFFIRMED, and the City’s Rule 72(a) objection [54] is OVERRULED.

                                    BACKGROUND

         This case arises from Plaintiff Ricardo Rodriguez’ arrest and conviction for

the murder of Rodney Kemppainen and attempted murder of Rudolfo Zaragoza on

December 16, 1995. After spending over 22 years in prison, Plaintiff’s conviction

was vacated in March 27, 2018. (Dkt. 11 at ¶50). Plaintiff brings this action

pursuant to 42 U.S.C. § 1983, claiming that several Chicago Police Officers (the

“Individual Defendants”) framed him for murder and attempted murder in 1995.

Plaintiff alleges that the Individual Defendants fabricated purported eyewitness

testimony and suppressed exculpatory evidence in order to secure Plaintiff’s arrest

and conviction. (Id. at ¶¶24–25, 34–40, 47). Plaintiff also alleges that the City failed

to train, supervise, and discipline its officers, and had a practice of suppressing



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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 2 of 14 PageID #:729




important investigatory materials in clandestine files (“street files”) which were

maintained solely at the police department but never disclosed to state prosecutors

or criminal defendants. (Id. at ¶¶55–72). On September 11, 2019, Judge Cox denied

the City’s motion to bifurcate Plaintiff’s Monell claims for the purpose of discovery

and trial. (Dkt. 51). Before the Court is the City’s Rule 72(a) objection to the

magistrate judge’s order denying bifurcation.

                             STANDARD OF REVIEW

      Federal Rules of Civil Procedure 72(a) governs the district court’s review of

nondispositive magistrate judge decisions. Rule 72(a) provides: “The district judge .

. . must consider timely objections and modify or set aside any part of the order that

is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a). “The clear error

standard means that the district court can overturn the magistrate judge's ruling

only if the district court is left with the definite and firm conviction that a mistake

has been made.” Weeks v. Samsung Heavy Indus. Co., 126 F.3d 926, 943–44 (7th

Cir. 1997); see also McGuire v. Carrier Corp., No. 1:09-CV-315-WTL-JMS, 2010 WL

231099, at *1 (S.D. Ind. Jan. 13, 2010) (“This is an extremely deferential standard

and the district court may not reverse the magistrate judge's decision simply

because the district court judge would have come to a different conclusion.”); S

Indus., Inc. v. Centra 2000, Inc., 249 F.3d 625, 627 (7th Cir. 2001) (“We will not

reverse a determination for clear error unless it strikes us as wrong with the force

of a 5 week old, unrefrigerated, dead fish.”). “An order is contrary to law when it

fails to apply or misapplies relevant statutes, case law, or rules of procedure.” Baker



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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 3 of 14 PageID #:730




v. McCorkle, No. 116CV03026JMSMPB, 2018 WL 3439078, at *3 (S.D. Ind. July 17,

2018) (citations omitted). To prevail in its objections, the City must demonstrate

that Judge Cox’s order was clearly erroneous or contrary to law. See Dyson, Inc. v.

SharkNinja Operating LLC, No. 14-CV-779, 2017 WL 446043, at *2 (N.D. Ill. Feb. 2,

2017).

         Rule 42(b) provides “[f]or convenience, to avoid prejudice, or to expedite and

economize, the court may order a separate trial of one or more separate issues,

claims, crossclaims, counterclaims, or third-party claims.” Fed. R. Civ. P. 42(b). The

Seventh Circuit has emphasized that only one of the above criteria, prejudice or

judicial economy, needs to be satisfied for a court to grant bifurcation “as long as

doing so will not prejudice the non-moving party or violate the Seventh

Amendment.” Chlopek v. Fed. Ins. Co., 499 F.3d 692, 700 (7th Cir. 2007). The

district court has considerable discretion in deciding whether to bifurcate claims.

Volkman v. Ryker, 736 F.3d 1084, 1089 (7th Cir. 2013); Krocka v. City of Chicago,

203 F.3d 507, 516 (7th Cir. 2000). In this district, there is a growing body of

precedent for both granting and denying bifurcation of Monell claims in §1983

cases. Giles v. Ludwig, No. 12-CV-6746, 2013 WL 6512683, at *1 (N.D. Ill. Dec. 6,

2013). “[T]he decision to grant or deny bifurcation is a heavily fact-intensive

analysis, dependent upon costs and benefits of bifurcation under the unique

circumstances of each case.” Awalt v. Marketti, 2012 WL 11615000, at *10 (N.D. Ill.

April 9, 2012).

                                       ANALYSIS



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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 4 of 14 PageID #:731




A. Prejudice to Plaintiff

      The City asserts that the magistrate judge committed clear error by finding

that Plaintiff would suffer prejudice from bifurcation. The City argues that the

Judge Cox failed to consider its arguments that Plaintiff is not entitled to any

additional compensatory damages if there is a finding of liability against Defendant

and is only entitled to monetary damages by law. (Dkt. 54 at 4). But the magistrate

judge did consider these arguments and noted that she was not persuaded by them

because Plaintiff has more than monetary interests in this case. The magistrate

judge explained that Plaintiff “‘has a profound interest in pursuing his claims with

an eye towards institutional reform,’ and ‘a judgment naming the City itself and

holding it responsible for its policies may have a greater deterrent effect than a

judgment against a police officer that is paid by the City.’” (Dkt. 51 at 4) (quoting

Gomez v. Guevara, 18-cv-3335, Dkt. 65 at 10 (N.D. Ill. Apr. 8, 2019)).

      Numerous courts have recognized the importance of weighing such non-

monetary considerations in the bifurcation analysis. See e.g., Estate of Loury by

Hudson v. City of Chicago, No. 16-CV-04452, 2017 WL 1425594, at *5 (N.D. Ill. Apr.

20, 2017) (“In sum, Plaintiff has other important objectives—most notably,

deterrence and reform— that would be furthered by a judgment holding the City

liable for the Defendant Officers' alleged misconduct.”); Estate of McIntosh v. City of

Chicago, No. 15 C 1920, 2015 WL 5164080, at *10 (N.D. Ill. Sept. 2, 2015) (“A

judgment against a municipality can be a catalyst for change, because it not only

holds that entity responsible for its actions and inactions, but also can encourage



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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 5 of 14 PageID #:732




the municipality to reform the patterns and practices that led to constitutional

violations, as well as alert the municipality and its citizenry to the issue.”); Giles,

2013 WL 6512683, at *3 (“mere monetary compensation for constitutional injuries

may not have the same deterrent effect as a judgment naming the municipality as

responsible based on its policies and customs”).

      Next the City argues that Plaintiff will suffer no prejudice from bifurcation

because “the City has already agreed to a judgment against it if Plaintiff proves any

one of the individual officers violated his constitutional rights (whether there is a

successful qualified immunity defense or not).” (Dkt. 54 at 4). Although some courts

in this district have found that the City’s willingness to consent to a judgment

against it for compensatory damages serves as an adequate deterrent, see Ezell v.

City of Chicago, No. 18 C 1049, 2019 WL 3776616, at *6 (N.D. Ill. Aug. 12, 2019);

Williams v. City of Chicago, 315 F. Supp. 3d 1060, 1083–84 (N.D. Ill. 2018), others

have found “such stipulations insufficient to justify bifurcation, noting that the

plaintiff is entitled to be the master of her own complaint and pursue claims even if

they have a minimal pecuniary reward.” Rodriguez v. City of Chicago, No. 17 CV

7248, 2018 WL 3474538, at *3 (N.D. Ill. July 19, 2018) (citing McIntosh, 2015 WL

5164080, at *9; Warren v. Dart, No. 09 CV 3512, 2012 WL 1866372, at *2 (N.D. Ill.

May 22, 2012)).

      Courts have reasoned that there are valid non-economic reasons for pursuing

a Monell action “even if she has already won a judgment against individual officers

and the municipality has consented to judgment.” Loury, 2017 WL 1425594, at *5;



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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 6 of 14 PageID #:733




King v. Evans, No. 13-CV-1937, 2015 WL 4397761, at *2 (N.D. Ill. July 17, 2015)

(noting that even if the City “is willing to stipulate to judgment in the event

Plaintiff succeeds on her claims against the individual officer[s],” there are

legitimate non-monetary benefits to pursuing a Monell claim, such as deterring

future official misconduct). Further, courts in this district have taken issue with

similar consents as offering little, if any, deterrent effect where, as here, the

proposed consent expressly denies any wrongdoing on the part of the City. See (Dkt.

54-3, ¶¶3–4); Rodriguez, 2018 WL 3474538, at *3 (“A proposed consent judgment is

particularly ill-designed to have any deterrent effect where, as here, it expressly

denies any wrongdoing on the City’s part.”); Loury, 2017 WL 1425594, at *5 (noting

same); Giles, 2013 WL 6512683, at *3.

      Similarly unavailing are the City’s arguments that the magistrate judge

erred because “the policies at issue are 25 years old, so any effect a judgment on

those policies may have on institutional reform are moot,” and “Plaintiff is not

requesting a consent decree or equitable relief where the City would be forced into

reform” so his argument is pretextual.” (Dkt. 54 at 4–5). As noted earlier, Plaintiff is

the master of his own complaint, and failure to pursue a consent decree or

injunctive relief in this case does not foreclose the possibility that he still has

significant non-monetary incentives for pursuing a Monell claim. Also, even though

the policies at issue are 25 years old, the City has not demonstrated that all of the

policies at issue have been meaningfully reformed such that a finding of Monell

liability in this case would have no impact on institutional reform or deterrence.



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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 7 of 14 PageID #:734




Accordingly, there is no clear error in the magistrate judge’s finding that Plaintiff’s

“profound” non-economic incentives for pursing his Monell claim weigh in favor of

denying bifurcation.

B. Burden of Unitary Discovery on the City

      The magistrate judge’s finding that prejudice to the Plaintiff outweighed any

burden of responding to Monell related discovery requests is also not clearly

erroneous. The City contests the magistrate judge’s assertion that “much of the

discovery on Monell liability has already been done by the City at least once, and it

will not need to expend significant time or resources to complete it.” (Dkt. 51 at 3).

Judge Cox explained:

      This is not the first case in which this discovery has been produced. As
      noted, it is one of several cases alleging the same pattern and practice
      of fabricating incriminating evidence and hiding exonerating evidence
      against a similar group of Chicago Police Officers that is currently
      being litigated in several courts in the Northern District of Illinois. At
      least one of these cases, Rivera, has already been tried to a jury, and
      gone through Monell discovery. (Dkt. 51 at 3).

The Court does not find clear error in the Judge Cox’s reasoning. As Plaintiff points

out, much Monell discovery including written policies and training manuals, Rule

30(b)(6) testimony, employee records, and samples of homicide and or CR files have

or will be produced in other cases involving a similar group of Chicago Police

Officers including Rivera v. Chicago, No. 12c4428 (N.D. Ill); Fields v. Chicago, No.

10c1168 (N.D. Ill.); Ryes v. Guevara, et al, No. 18c1028 (N.D. Ill); Gomez, No. 18c335

(N.D. Ill); Reyes & Solache v. Guevara, Nos. 18 18c1028 & 18c2312 (N.D. Ill.);

Almodovar v. Guevara, Nos. 18c2341 & 18c2701 (N.D. Ill); Sierra v. Guevara, No.



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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 8 of 14 PageID #:735




18c3029 (N.D. Ill.); Maysonet v. Guevara, No. 18c2342 (N.D.Ill). (Dkt. 61 at 11–12).

Other courts have reached similar conclusions. See e.g., Cadle v. City of Chicago,

No. 15 C 4725, 2015 WL 6742070, at *2 (N.D. Ill. Nov. 2, 2015) (“The City is very

familiar with this type of discovery, and the Court has no doubt that the City has

produced similar information in other cases. The incremental burden of doing so

again here does not militate heavily in favor of bifurcation.”).

      The City notes that Plaintiff will likely ask for homicide files for 6 years, from

1992 to 1997, that were not produced in Rivera, and this production “will be a huge

undertaking.” (Dkt. 54 at 7). Plaintiff responds that “[s]imilar homicide files and CR

files from the 1992–1995 time period will almost certainly be produced in multiple

pending Guevara cases in which bifurcation was also denied, such as Sierra and

Gomez, which address investigations of 1995 and 1997 homicides, respectively.”

(Dkt. 61 at 9). While it is true that unitary discovery will inevitably impose some

burden on the City in responding to Monell related discovery requests, the City’s

assertion that it will need to produce “thousands of pages of documents” and

“undergo years of discovery to analyze those documents,” (Dkt. 65 at 1), is

speculative at best. Many courts have not been persuaded by a defendant’s general

assertions about the high costs of Monell discovery. See e.g., Cadiz v. Kruger, No. 06

C 5463, 2007 WL 4293976, at *3 (N.D. Ill. Nov. 29, 2007) (“The City says it would

have to produce ‘thousands of documents’ . . . but that sort of non-specific assertion

of burden is routinely rejected as a basis to deny or limit discovery under

Fed.R.Civ.P. 26(b)(2)(C)(iii). Such a vague assertion fares no better when a party



                                                                                       8
   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 9 of 14 PageID #:736




resorts to it in support of bifurcating a Monell claim.” . . .”) (citations omitted);

Rodriguez, 2018 WL 3474538, at *3 (denying bifurcation of Monell discovery noting

that the assertions of the high costs of Monell discovery is speculative and “broader

scope” does not necessarily translate to an “undue burden”). Further, to the extent

that the City finds Plaintiff’s Monell discovery requests overly broad or unduly

burdensome, “the parties can seek assistance from the Court to tailor the requests

as necessary after making independent good faith attempts to do so.” McIntosh,

2015 WL 5164080, at *8–9. The Court finds no clear error in Judge Cox’s finding

regarding the burden of discovery to the City.

C. Prejudice to the City at Trial

       Likewise, the City has not shown clear error in the magistrate judge’s

analysis of prejudice to Defendants at trial. Judge Cox acknowledged that “trying

the Monell claims and individual claims might potentially prejudice the City by

confusing the jury or causing the jury to punish the City for any findings it makes

against the Individual Defendants.” (Dkt. 51 at 3). Nonetheless, she concluded that

“[a]ny prejudice to the City that comes from trying the case jointly is outweighed by

the prejudice to Plaintiff, and also because any prejudice can be cured either

through limiting instructions during the trial or by bifurcating the case for trial at a

later date.” (Dkt. 51 at 3). Other courts in this district have taken a similar

approach. See e.g., Giles, 2013 WL 6512683, at *2 (denying bifurcation because “any

potential prejudice that might arise from a unitary trial can be mitigated through

the use of limiting instructions, motions in limine, and the Rules of Evidence”);



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  Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 10 of 14 PageID #:737




Rodriguez, 2018 WL 3474538, at *4 (same); Loury, 2017 WL 1425594, at *4 (same).

Courts have noted that determining prejudice to defendants at trial is often

“premature and too speculative” at the early stages of litigation. McIntosh, 2015 WL

5164080, at *9; Love v. City of Chicago, 363 F. Supp. 3d 867, 875 (N.D. Ill. 2019);

Jackson v. City of Chicago, No. 14 C 6746, 2017 WL 8199322, at *3 (N.D. Ill. Dec.

12, 2017) (“[T]he better time to evaluate [prejudice from trying individual and

Monell claims together] is shortly before trial, when the court (and the parties) will

have a much better understanding of the evidence and its relevance to the

individual and Monell claims.”).

D. Judicial Economy

      Judge Cox noted that bifurcation would not serve the interests of judicial

economy because (1) bifurcated discovery could result in costly and burdensome

discovery disputes; and (2) “[h]olding two trials, several years apart, and two

distinct and consecutive rounds of discovery would not lessen the time this case took

to resolve or the burden on the Court.” (Dkt. 51 at 3–4, fn. 1).

      The City first takes issue with the magistrate judge’s assertion that

bifurcated discovery could result in discovery disputes stating, “[u]ndersigned

counsel is unaware of any case where the parties needed to seek court intervention

regarding what was Monell v. non-Monell discovery.” (Dkt. 54 at 7). But the

magistrate judge’s observations are amply supported by case law. See e.g., Loury,

2017 WL 1425594, at *3–4 (“Given the factual overlap between the Monell claims

and the constitutional claims, a stay of Monell discovery will likely result in



                                                                                      10
  Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 11 of 14 PageID #:738




continual discovery disputes between the parties about whether Plaintiff's discovery

requests invoke her Monell claim or her other claims. As several courts in this

district have noted, forcing a court to resolve constant disputes about discovery

requests' connection to Monell liability can introduce additional confusion to a

matter and make litigation less efficient.”); Cadle, 2015 WL 6742070, at *2 (denying

bifurcation noting “[a] stay of Monell discovery could, and often does, give rise to

arguments about whether Plaintiffs discovery requests relate to his Monell claim or

to his other claims.”); Rodriguez, 2018 WL 3474538, at *3 (noting same). These

parties, very sophisticated in this type of litigation, may be able to keep Monell

discovery separate from non-Monell discovery for the most part. But that is not a

basis to find that Judge Cox committed clear error.

      Next, the City argues that the magistrate judge erred by noting that

bifurcation could result in two distinct rounds of discovery and two trials several

years apart. The Court finds that the magistrate judge’s reasoning is not clearly

erroneous or contrary to law. As Plaintiff points out, if he prevails against the

individual defendants on his constitutional claims, his Monell claim would still have

non-economic value and establish an independent basis for liability. Courts in this

district have cautioned against bifurcating a Monell claim where, as here, the

proposed consent to compensatory damages explicitly denies liability on the part of

the City, noting that such a consent “attempts to circumvent the public policy goals

of Monell claims by insulating the City from litigation and accepting responsibility




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  Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 12 of 14 PageID #:739




if their practices and policies result in constitutional injuries.” Giles, 2013 WL

6512683, at *3; see also Rodriguez, 2018 WL 3474538, at *3.

      Similarly, the Court is not persuaded by the City’s assertion that the

magistrate judge’s finding of the possible need for two separate trials is “contrary to

law.” The City argues that there is no possibility of a second trial if the Individual

Defendants are not found liable because “the Supreme Court and Seventh Circuit

have consistently held, there can be no Monell liability without a finding of a

constitutional violation by at least one individual defendant officer, especially in a

case such as the present one.” (Dkt. 54 at 7–8). However, in Thomas, the Seventh

Circuit held that “a municipality can be held liable under Monell, even when its

officers are not, unless such a finding would create an inconsistent verdict.” Thomas

v. Cook County Sheriff’s Dept., 604 F.3d 293, 305 (7th Cir. 2009). Plaintiff argues

that the Thomas exception applies in this case because his complaint specifically

pleads that “police officers placed ‘discoverable reports, memos and other

information in files that were maintained solely at the police department’ and that

pursuant to the City custom and practice, such files were withheld from prosecutors

and criminal defendants.” (Dkt. 61 at 13, fn 4) (citing Dkt. 1 at ¶¶ 58–60). Plaintiff

explains that “a Monell verdict reflecting that the City’s file-keeping system

prevented disclosure of exculpatory investigative materials to Plaintiff would be

consistent with a verdict that no individual Defendant bore personal responsibility

for evidence suppression.” (Dt. 61 at 13).




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   Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 13 of 14 PageID #:740




      Courts in this district have recognized that under similar facts, Monell

liability against the City would not necessarily be dependent on a finding of liability

of the individual officers. For instance, in Gomez, the court denied bifurcation on the

grounds that it would not promote judicial economy noting:

      [W]ith respect to the evidence suppression allegations, the jury could
      presumably find that the Defendant Officers put the evidence in its
      proper place within the Chicago Police Department files, but that the
      City had no mechanism for guaranteeing that those files were turned
      over in the litigation process. This finding would not be contingent on
      the jury determining that the individual officers intentionally
      suppressed evidence. . . . Therefore, Gomez’s asserted Monell claim
      could still proceed independent of the Defendant Officers individual
      liability. Accordingly, bifurcation would not serve the interests of
      judicial economy on this ground . . .


Gomez v. Guevara et al., No. 18c3335, Dkt. 65 at 6 (N.D. Ill. April 8, 2019); see also

Cage v. City of Chicago, No. 9 C 3078, 2010 WL 3613981, at *2 (N.D. Ill. Sept. 8,

2010) (“[I]f Cage can establish it was the policy of the Chicago Police Department

crime lab to withhold exculpatory evidence, a verdict could exist against the

municipality but in favor of the individual defendants.”). Further, the magistrate

judge denied the motion without prejudice to revisit closer to trial if the City

chooses to refile. In similar cases, courts have found it premature at the early stages

of litigation to rule on whether the Monell liability is dependent on individual

liability. See e.g., Reyes v. Guevara et al, No. 18c1028, (N.D. Ill); Trans. of April 24,

2019 Hearing,(Attached to Pl.’s Response, Dkt. 61-7 at 4) (“[A]t this point I can’t

make a determination that the Monell liability is necessarily dependent on the

individual liability. I think there are theories that would not make that the case. . .



                                                                                        13
  Case: 1:18-cv-07951 Document #: 68 Filed: 12/17/19 Page 14 of 14 PageID #:741




[and] there should be an opportunity to suss that out . . .”); McIntosh v. City of

Chicago, No. 17 C 6357 (Dkt. 102 at 17–19) (N.D. Ill.); Sierra v. Guevara et al., No.

18c3029 (Dkt. 88 at 6) (N.D. Ill.) (denying motion for bifurcation without prejudice).

Accordingly, the Court finds that the magistrate judge’s reasoning regarding

judicial economy is not clearly erroneous or contrary to law.


                                   CONCLUSION

   For the reasons set forth above, Judge Cox’s Order denying the City’s motion to

bifurcate Monell claims without prejudice [51] is AFFIRMED, and the City’s Rule

72(a) objection [54] is OVERRULED.




                                              E N T E R:


 Dated: December 17, 2019

                                              MARY M. ROWLAND
                                              United States District Judge




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